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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JAMES LIDESTRI,                                                   25 Civ. 1166 (JHR)

                                   Plaintiff,                     PLAINTIFF’S
             -v.-                                                 DECLARATION

AUDREY BURNS,

                                    Defendant.
--------------------------------------------------------x

        James Lidestri hereby declares under penalty of perjury pursuant to 28 U.S.C. § 1746,

that the following is true and correct:

        1.          I am the Plaintiff in this matter. I am represented by Peter E. Brill, Esq.

        2.          This declaration is respectfully submitted in response to the Court’s Order to

Show Cause of February 21, 2025.

        3.          I am a citizen of the United States and live in Dutchess County, New York.

        4.          I have lived in my current residence in Dutchess County since September 2024. It

is my primary residence, and I consider it my domicile. I am currently registered to vote at that

address. Prior to that, I lived at a different home in Dutchess County for 24 years. It was my

primary residence, and I was registered to vote at that address as well.

        5.          I have known the Defendant, Audrey Burns, since 2013. To the best of my

knowledge, she is a citizen of the United States and, when I met her, was a citizen of the State of

Oklahoma. After that, she moved to Florida for a time. Upon information and belief, based

uponconversations with my attorney and research, including her Facebook profile, she is now a

citizen of Oklahoma again.

Dated: February 27, 2025
                                                            _____________________________
                                                            James Lidestri
